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UN|TED STATES DlSTR|CT COURT
M|DDLE DlSTR|CT OF FLOR|DA
JACKSONV|LLE D|V|S|ON
CL|FFORD CHESSER,
P|aintiff,
v. Case No: 3:13-cv-1544-J-39JBT
VER|ZGN W|RELESS PERSONAL
COMMUN|CAT|ONS, LP, dlbla

Verizon Wire|ess,

Defendant.
l

ORDER OF D|SM|SSAL

This matter is before the Court on the Joint Stipu|ation of Dismissa| With
Prejudice (Doc. 28; Stipu|ation) filed on September 5, 2014. |n the Stipu|ation, the
parties state that they agree to the dismissal of this case With prejudice w Stipulation
at 1. According|y, it is hereby

ORDERED:

1. This case is D|SMlSSED with prejudice.

2. Each party shall bear their own attorney’s fees, costs and expenses

3. The Clerk of the Court is directed to terminate all pending motions and
close the file.

qui
DONE and ORDERED in Jacksonvi||e, F|orida this __day of September,

w gus

BR|AN J. DAV|S
United States Distriot Judge

 

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Copies to:

Counsel of Record

 

